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                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12                                                                   *E-FILED - 11/21/05*

13
     UNITED STATES OF AMERICA,                    )      No. CR 05-00445-RMW
14                                                )
             Plaintiff,                           )      STIPULATION REGARDING
15                                                )      EXCLUDABLE TIME AND
        v.                                        )      ORDER
16                                                )
     DAVID M. FISH,                               )
17     aka x000x,                                 )
                                                  )
18           Defendant.                           )
                                                  )
19
20      It is hereby stipulated and agreed between defendant David M. Fish, and his counsel Manuel
21   Campos, and the United States as follows:
22      This matter was set for a status conference on November 14, 2005 at 9:00 a.m. In this
23   copyright infringement case, the defense needs more time to prepare, review discovery
24   previously provided, including a substantial amount of digital evidence, and research legal and
25   sentencing issues. On July 21, 2005, defendant Fish was arraigned on a nine-count indictment,
26   charging as follows: Count One: Conspiracy to Commit Criminal Copyright Infringement,
27   Infringement By Electronic Means, Infringement By Distributing A Commercial Distribution
28   Work, Traffic in Devices to Circumvent a Technological Measure that Protects a Copyright

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1    Work, Circumvent a Technological Measure that Protects a Copyright Work, and Use
2    Audiovisual Recording Devices to Make Unauthorized Copies Of Audiovisual Works, in
3    violation of 18 U.S.C. § 371; Count Two: Circumventing a Technological Measure Protecting a
4    Copyright Work and Aiding and Abetting, in violation of 17 U.S.C. §§ 1201(a)(1)(A),
5    1204(a)(1), and 18 U.S.C. § 2; Counts Three, Four and Five: Trafficking in Technology
6    Primarily Designed to Circumvent Technological Measures Protecting A Right of a Copyright
7    Owner and Aiding and Abetting, in violation of 17 U.S.C. §§ 1201(a)(2)(A), and 1204(a)(1) and
8    18 U.S.C. § 2; Counts Six, Seven, Eight and Nine: Criminal Copyright Infringement By
9    Electronic Means and Aiding and Abetting, in violation of 17 U.S.C. § 506(a)(1)(B), 18 U.S.C.
10   § 2319(c)(1) and 18 U.S.C. § 2; and an allegation of Criminal Forfeiture and Destruction, in
11   violation of 17 U.S.C. §§ 506(b) and 509(a).
12        On or about October 17, 2005, defense counsel Manuel Campos was substituted as counsel
13   for defendant Fish. Mr. Campos recently received the discovery from prior defense counsel and
14   needs more time to review it. The discovery includes a substantial amount of digital evidence.
15   Under these circumstances, the parties agree that further time is necessary for Mr. Campos to
16   complete his review of the discovery and review legal issues with his client.
17        The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
18   November 14, 2005, until December 12, 2005, because the parties believe that the ends of justice
19   served by the granting of such a continuance outweigh the best interests of the public and the
20   defendant in a speedy trial, particularly since reasonable time is needed for the defense to
21   prepare for pretrial and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii).
22   The parties further stipulate that time may be excluded for reasonable time for defense
23   preparation, since the failure to exclude time would deny counsel for the defendant reasonable
24   time necessary for effective preparation, taking into account the exercise of due diligence,
25   // // //
26   // // //
27
28

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1    pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv). Complicating a review of the
2    discovery and issues in this case is the fact that the defendant resides on the east coast. Further
3    time will allow for necessary discussions on the issues in this case.
4       So stipulated.
5    Dated: November 9, 2005                               KEVIN V. RYAN
                                                           United States Attorney
6
                                                                  /s/
7                                                          ________________________
                                                           MARK L. KROTOSKI
8                                                          Assistant United States Attorney
9       So stipulated.
10   Dated: November 9, 2005
                                                                  /s/
11                                                         ________________________
                                                           MANUEL CAMPOS
12                                                         Attorney for Defendant Fish
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1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for November 14, 2005 at 9:00
4    a.m. for defendant Fish shall be continued to December 12, 2005 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between November 14, 2005 and December 12,
6    2005 shall be excluded from the computation period within which the trial must commence, for
7    the reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12                   21 2005
     DATED: November __,
13                                                          /S/ RONALD M. WHYTE
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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